              Case 18-13290-BFK                   Doc 1     Filed 09/28/18 Entered 09/28/18 15:59:45                               Desc Main
                                                            Document     Page 1 of 57
Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF VIRGINIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Artifact LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  14113 Robert Paris Ct #103
                                  Chantilly, VA 20151
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fairfax                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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          Artifact LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor
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         Artifact LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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          Artifact LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 28, 2018
                                                  MM / DD / YYYY


                             X   /s/ Felipe Valdes                                                       Felipe Valdes
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Kevin M. O'Donnell                                                   Date September 28, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Kevin M. O'Donnell 30086
                                 Printed name

                                 Henry & O'Donnell, PC
                                 Firm name

                                 300 N. Washington Street
                                 Suite 204
                                 Alexandria, VA 22314
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (703)548-2100                 Email address      kmo@henrylaw.com

                                 30086 VA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Artifact LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 28, 2018                      X /s/ Felipe Valdes
                                                                       Signature of individual signing on behalf of debtor

                                                                       Felipe Valdes
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Artifact LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $            15,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           252,644.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           267,644.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              7,148.31

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,526,195.97


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,533,344.28




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
            Case 18-13290-BFK                         Doc 1          Filed 09/28/18 Entered 09/28/18 15:59:45                          Desc Main
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 Fill in this information to identify the case:

 Debtor name         Artifact LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              Unknown



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     United Bank                                                                             3461                                       $100.00




           3.2.     United Bank                                                                             3537                                       $100.00




           3.3.     United Bank                                                                             3529                                       $100.00




           3.4.     Wells Fargo                                                                             8369                                       $100.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $400.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                Name


        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            212,000.00       -                        106,000.00 = ....                  $106,000.00
                                              face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                                    41,488.00   -                        20,744.00 =....                     $20,744.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                               250,000.00       -                       125,000.00 =....                    $125,000.00
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                              $251,744.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                            Valuation method used   Current value of
                                                                                                            for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     Disputed interest in 1409 Cola Drive Limited                      unknow
           15.1.     Partnership (unfunded).                                           n            %       N/A                                 Unknown



                     Disputed interest in 6808 Lumsden Street JV                       unknow
           15.2.     (unfunded).                                                       n            %       N/A                                 Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                      $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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                Name


        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Desktop with Lenovo Display
           Printer Epson 7620
           Printer Epson 3620
           Xerox Document Scanner 3120                                                    $500.00                                          $500.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $500.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Artifact LLC                                                                  Case number (If known)
                Name



            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Volvo MC125
                     Skidsteer (In
                     possession of JP
                     Masonry)                                                               $0.00                                         $15,000.00




 56.        Total of Part 9.                                                                                                            $15,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $400.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $251,744.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                          $15,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $252,644.00           + 91b.               $15,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $267,644.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 5
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 Debtor name         Artifact LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Artifact LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $7,148.31     $7,148.31
           County of Fairfax                                         Check all that apply.
           PO Box 10203                                                 Contingent
           Fairfax, VA 22035                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018                                                      Delinquent tax bill

           Last 4 digits of account number 6689                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     $9,375.00
           Airtron Mid-Atlantic                                                        Contingent
           5123 Pegasus Ct., Ste. M                                                    Unliquidated
           Frederick, MD 21704                                                         Disputed
           Date(s) debt was incurred 2017-2018
                                                                                   Basis for the claim:     Trade account
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No   Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     Unknown
           Alejandro Painting                                                          Contingent
           505 S Lee Rd.                                                               Unliquidated
           Sterling, VA 20164                                                          Disputed
           Date(s) debt was incurred     2017-2018                                 Basis for the claim:     Trade account
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No   Yes




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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Alina Hu                                                              Contingent
          1718 Chateau Ct.
                                                                                Unliquidated
          Mc Lean, VA 22101
                                                                                Disputed
          Date(s) debt was incurred      2017-2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,242.82
          Allied Interior Products                                              Contingent
          21 Lawson Rd., Ste. A                                                 Unliquidated
          Leesburg, VA 20175                                                    Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $350.00
          Allstate Insurance Co.                                                Contingent
          9316 Old Keene Mill Rd                                                Unliquidated
          Chantilly, VA 20151                                                   Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade accounts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,000.00
          Ana Maria Brockmann Quiroga                                           Contingent
          5750 Colchester Road                                                  Unliquidated
          Fairfax, VA 22030                                                     Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $70,000.00
          Appliance Connection                                                  Contingent
          13851 Telegraph Rd.                                                   Unliquidated
          Woodbridge, VA 22192                                                  Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,544.00
          AR Jon Portable Toilet                                                Contingent
          327 Owaissa Rd., SE                                                   Unliquidated
          Vienna, VA 22180                                                      Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,226.00
          AR Remodeling                                                         Contingent
          148 Cabbel Drive                                                      Unliquidated
          Manassas, VA 20111                                                    Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          AT&T                                                                  Contingent
          4331 Communications Dr.                                               Unliquidated
          Floor 4W                                                              Disputed
          Dallas, TX 75211
                                                                             Basis for the claim:    Trade account
          Date(s) debt was incurred 2017-2018
          Last 4 digits of account number 5420                               Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,996.38
          BlueLine Rental                                                       Contingent
          PO Box 840062                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred  2017-2018                               Basis for the claim:    Trade account
          Last 4 digits of account number 4036
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $238,887.98
          BMC East LLC                                                          Contingent
          10589 Redoubt Rd.                                                     Unliquidated
          Manassas, VA 20110                                                    Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $213,350.00
          Botero Homes, LLC                                                     Contingent
          11150 Sunset Hills Road                                               Unliquidated
          Reston, VA 20190                                                      Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $60,000.00
          BrainWave Advisors LLC                                                Contingent
          1227 San Filippo Ct.                                                  Unliquidated
          San Jose, CA 95128-4053                                               Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Brian & Jennifer Yi                                                   Contingent
          11335 Vale Rd.
                                                                                Unliquidated
          Oakton, VA 22124
                                                                                Disputed
          Date(s) debt was incurred      2017-2018
                                                                             Basis for the claim:    Potential warranty claim for 1708 Margie Dr
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $250,000.00
          Brian Yan                                                             Contingent
          11335 Vale Rd.                                                        Unliquidated
          Falls Church, VA 22046                                                Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Business loan on investment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,373.01
          Brickwall Printing & Graphics                                         Contingent
          14088-D Sullyfield Cir.                                               Unliquidated
          Chantilly, VA 20151                                                   Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Bull Run CAD                                                          Contingent
          8512 Craggan Ln.                                                      Unliquidated
          Manassas, VA 20109                                                    Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,978.18
          Choice Stairways                                                      Contingent
          231 Bugeye Square                                                     Unliquidated
          Prince Frederick, MD 20678                                            Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $68,000.00
          Claudia Hoffman                                                       Contingent
          2825 Aquarius Ave.                                                    Unliquidated
          Silver Spring, MD 20906                                               Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $77,000.00
          Constanza Patterson                                                   Contingent
          1434 Cola Dr.                                                         Unliquidated
          Mc Lean, VA 22101                                                     Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,325.00
          Construction Inspection Svcs                                          Contingent
          31 Sycolin Rd.                                                        Unliquidated
          Leesburg, VA 20175                                                    Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $51,951.00
          Davenport Tru Team                                                    Contingent
          7400 Gateway Ct.                                                      Unliquidated
          Manassas, VA 20109                                                    Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $87,563.00
          Delta Concrete                                                        Contingent
          10480 Colonel Ct.                                                     Unliquidated
          Manassas, VA 20110                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,454.00
          Demarr Construction                                                   Contingent
          2504 Moon Drive                                                       Unliquidated
          Falls Church, VA 22043                                                Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Dongmei Zhang                                                         Contingent
          6803 Lumsden St.
                                                                                Unliquidated
          Mc Lean, VA 22101
                                                                                Disputed
          Date(s) debt was incurred      2017-2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $48,000.00
          Era Cabinets                                                          Contingent
          2408 Columbia Pike                                                    Unliquidated
          Arlington, VA 22204                                                   Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,372.77
          Erie Insurance Exchange                                               Contingent
          100 Erie Ins Place                                                    Unliquidated
          Erie, PA 16530                                                        Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Insurance premiums
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,000.00
          Escalera Plumbing LLC                                                 Contingent
          135 North Cottage Rd.                                                 Unliquidated
          Sterling, VA 20164                                                    Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,830.34
          Fireside Hearth & Home                                                Contingent
          10126 Harry J. Parrish Blvd.                                          Unliquidated
          Manassas, VA 20110                                                    Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number 4013
                                                                             Is the claim subject to offset?     No       Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Frank Antezana & D. Versalovic                                        Contingent
          5750 Colchester Road
                                                                                Unliquidated
          Mc Lean, VA 22101
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $373,460.00
          Givago Growth                                                         Contingent
          1434 Cola Dr.                                                         Unliquidated
          Mc Lean, VA 22101                                                     Disputed
          Date(s) debt was incurred      2017-2018                                           Business loan on investment
                                                                             Basis for the claim:
          Last 4 digits of account number                                    and Poterntial Warranty claims.
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,800.00
          H&L Electric                                                          Contingent
          2390 Generation Dr.                                                   Unliquidated
          Reston, VA 20191                                                      Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $35,000.00
          Homayoun Talieh                                                       Contingent
          19908 Bella Vista Ave.                                                Unliquidated
          Saratoga, CA 95070                                                    Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,000.00
          Home Depot                                                            Contingent
          PO Box 9001030                                                        Unliquidated
          Louisville, KY 40290                                                  Disputed
          Date(s) debt was incurred  2017-2018                               Basis for the claim:    Trade account
          Last 4 digits of account number 3535
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          Inova Engineering                                                     Contingent
          25209 Larks Terrace                                                   Unliquidated
          Chantilly, VA 20152                                                   Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $335,000.00
          Itech AG, LLC                                                         Contingent
          1621 N. Kent St. #815                                                 Unliquidated
          Arlington, VA 22209                                                   Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Business loan on investment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $300,000.00
          Jeffrey Neilsen                                                       Contingent
          5801 Malvern Hill Ct.                                                 Unliquidated
          Haymarket, VA 20169                                                   Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Business loan on investment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Jennifer Guo Spinelli                                                 Contingent
          2233 Whitcomb Pl.
                                                                                Unliquidated
          Falls Church, VA 22046
                                                                                Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Jim Xi                                                                Contingent
          1726 Lansing Ct.
                                                                                Unliquidated
          Mc Lean, VA 22101
                                                                                Disputed
          Date(s) debt was incurred      2017-2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Jin Li                                                                Contingent
          6809 Karlson St.
                                                                                Unliquidated
          Mc Lean, VA 22101
                                                                                Disputed
          Date(s) debt was incurred      2017-2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Jingjing Ye                                                           Contingent
          1710 Warner Ave.
                                                                                Unliquidated
          Mc Lean, VA 22101
                                                                                Disputed
          Date(s) debt was incurred      2017-2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,250.00
          JK Glass LLC                                                          Contingent
          3941 Persimmon Dr., Ste. 101                                          Unliquidated
          Fairfax, VA 22031                                                     Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,800.00
          JP Masonry                                                            Contingent
          6004 Artemus Rd.                                                      Unliquidated
          Gainesville, VA 20155                                                 Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $460,000.00
          Juan P. Valdez                                                        Contingent
          1434 Cola Dr.                                                         Unliquidated
          Mc Lean, VA 22101                                                     Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Business loan on investment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,000.00
          KNF Engineering                                                       Contingent
          42687 Leaflet Ln.                                                     Unliquidated
          South Riding, VA 20152                                                Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Larry Zhang                                                           Contingent
          7324 Old Dominion Dr.
                                                                                Unliquidated
          Mc Lean, VA 22101
                                                                                Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $78,000.00
          LoanMe                                                                Contingent
          PO Box 5645                                                           Unliquidated
          Orange, CA 92863                                                      Disputed
          Date(s) debt was incurred  2017-2018                               Basis for the claim:    Trade account
          Last 4 digits of account number 9591
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Lucy Sun                                                              Contingent
          6809 Churchill Rd.
                                                                                Unliquidated
          Mc Lean, VA 22102
                                                                                Disputed
          Date(s) debt was incurred      2017-2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,083.00
          Marble Solutions                                                      Contingent
          13825 Redskin Dr.                                                     Unliquidated
          Herndon, VA 20171                                                     Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Matthew Zhao                                                          Contingent
          1036 Carper St.
                                                                                Unliquidated
          Mc Lean, VA 22101
                                                                                Disputed
          Date(s) debt was incurred      2017-2018
                                                                             Basis for the claim:    Potential warranty claim for 1351 Windyhill Rd
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Artifact LLC                                                                            Case number (if known)
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,000.00
          MM Electric                                                           Contingent
          6603 Fisher Ave.                                                      Unliquidated
          Falls Church, VA 22046                                                Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Ngoc Le                                                               Contingent
          7204 Beverly St.
                                                                                Unliquidated
          Annandale, VA 22003
                                                                                Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          NOVA Homes Investors                                                  Contingent
          13050 Autumn Willow Dr.
                                                                                Unliquidated
          Fairfax, VA 22030
                                                                                Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Potential warranty claim for 5730 Walcott Ave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Ping Mu                                                               Contingent
          821 Leigh Mill Rd.
                                                                                Unliquidated
          Great Falls, VA 22066
                                                                                Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,990.52
          Potomac Valley Brick & Supply                                         Contingent
          15810 Indianola Dr., Ste. 100                                         Unliquidated
          Rockville, MD 20855                                                   Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $569.85
          Prime Rate Premium FinanceCorp                                        Contingent
          PO Box 580016                                                         Unliquidated
          Charlotte, NC 28258-0016                                              Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number 7655
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $89,180.21
          Sotheby Floors                                                        Contingent
          12079 Cadet Ct.                                                       Unliquidated
          Manassas, VA 20109                                                    Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,000.00
          Spatzio Concepts                                                      Contingent
          19908 Bella Vista Ave.                                                Unliquidated
          Saratoga, CA 95070                                                    Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Su Mya Lin                                                            Contingent
          9430 River Rd.
                                                                                Unliquidated
          Potomac, MD 20854
                                                                                Disputed
          Date(s) debt was incurred      2017-2018
                                                                             Basis for the claim:    Potential warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,742.91
          The Roof Center                                                       Contingent
          5900 Farrington Ave.                                                  Unliquidated
          Alexandria, VA 22304                                                  Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,000.00
          Top Quality Kitchen Granite                                           Contingent
          & Marble                                                              Unliquidated
          14041 Willard Rd.                                                     Disputed
          Chantilly, VA 20151
                                                                             Basis for the claim:    Trade account
          Date(s) debt was incurred 2017-2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $63,500.00
          Total Lawn Care                                                       Contingent
          PO Box 11163                                                          Unliquidated
          Manassas, VA 20113                                                    Disputed
          Date(s) debt was incurred      2017-2018                           Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,000.00
          Trim & Carpentry Inc.                                                 Contingent
          2623 Arlington Dr., Apt. 102                                          Unliquidated
          Alexandria, VA 22306                                                  Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Vector Security                                                       Contingent
          9800 Patuxent Woods Dr.                                               Unliquidated
          Ste. B                                                                Disputed
          Columbia, MD 21046
                                                                             Basis for the claim:    Trade account
          Date(s) debt was incurred 2017-2018
          Last 4 digits of account number 9590                               Is the claim subject to offset?     No       Yes




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 3.66      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             Unknown
           Vector Security                                                      Contingent
           9801 Patuxent Woods Dr.                                              Unliquidated
           Ste. B                                                               Disputed
           Columbia, MD 21046
                                                                             Basis for the claim:    Trade account
           Date(s) debt was incurred 2017-2018
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.67      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             Unknown
           Vivian Pan                                                           Contingent
           7010 Churchill Rd.                                                   Unliquidated
           Mc Lean, VA 22101                                                    Disputed
           Date(s) debt was incurred     2017-2018                           Basis for the claim:    Potential warranty claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             Unknown
           Weilong Wang                                                         Contingent
           6446 Divine St
                                                                                Unliquidated
           McLean, VA 20121
                                                                                Disputed
           Date(s) debt was incurred     2018
                                                                             Basis for the claim:    Potential warranty claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.         $150,000.00
           WizdomBridge LLC                                                     Contingent
           22059 Autction Barn Dr.                                              Unliquidated
           Ashburn, VA 20148                                                    Disputed
           Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Business loan on investment
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             Unknown
           Ying Zhao                                                            Contingent
           7102 Sea Cliff Road
                                                                                Unliquidated
           Mc Lean, VA 22101
                                                                                Disputed
           Date(s) debt was incurred     2018
                                                                             Basis for the claim:    Potential warranty claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $30,000.00
           Zhen Yang                                                            Contingent
           4613 Carisbrooke Ln.
                                                                                Unliquidated
           Fairfax, VA 22030
                                                                                Disputed
           Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Potential warranty claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             Unknown
           Zhongren Gu                                                          Contingent
           1932 Beaver Ln.
                                                                                Unliquidated
           Mc Lean, VA 22101
                                                                                Disputed
           Date(s) debt was incurred     2017-2018
                                                                             Basis for the claim:    Potential warranty claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims



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 Debtor       Artifact LLC                                                                         Case number (if known)
              Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.       $                       7,148.31
 5b. Total claims from Part 2                                                                        5b.   +   $                   3,526,195.97

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.       $                      3,533,344.28




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 12 of 12
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 Fill in this information to identify the case:

 Debtor name         Artifact LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Home construction
             lease is for and the nature of               contract for 1708
             the debtor's interest                        Margie Dr., McLean, VA
                                                          22101.
                  State the term remaining
                                                                                       Brian & Jennifer Yi
             List the contract number of any                                           11335 Vale Rd.
                   government contract                                                 Mc Lean, VA 22101


 2.2.        State what the contract or                   Home construction
             lease is for and the nature of               contract.
             the debtor's interest

                  State the term remaining
                                                                                       Feng Lui & Nan Yang
             List the contract number of any                                           1409 Cola Dr.
                   government contract                                                 Mc Lean, VA 22101


 2.3.        State what the contract or                   Home construction
             lease is for and the nature of               contract.
             the debtor's interest

                  State the term remaining
                                                                                       JP Valdes
             List the contract number of any                                           6802 Van Fleet Dr.
                   government contract                                                 Mc Lean, VA 22101


 2.4.        State what the contract or                   Home construction
             lease is for and the nature of               contract for 1351
             the debtor's interest                        Windyhill Rd., McLean,
                                                          VA 22101.
                  State the term remaining
                                                                                       Matthew Zhao
             List the contract number of any                                           1036 Carper St.
                   government contract                                                 Mc Lean, VA 22101




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
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 Debtor 1 Artifact LLC                                                                        Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Home construction
             lease is for and the nature of               contract.
             the debtor's interest

                  State the term remaining
                                                                                      Ngoc Le
             List the contract number of any                                          7204 Beverly St.
                   government contract                                                Annandale, VA 22003


 2.6.        State what the contract or                   Security.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Vector Security
             List the contract number of any                                          2000 Ericsson Dr.
                   government contract                                                Warrendale, PA 15086


 2.7.        State what the contract or                   Security.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Vector Security
             List the contract number of any                                          2001 Ericsson Dr.
                   government contract                                                Warrendale, PA 15086


 2.8.        State what the contract or                   Home construction
             lease is for and the nature of               contract.
             the debtor's interest

                  State the term remaining
                                                                                      Vivian Pan
             List the contract number of any                                          7010 Churchill Rd.
                   government contract                                                Mc Lean, VA 22101


 2.9.        State what the contract or                   Home construction
             lease is for and the nature of               contract.
             the debtor's interest

                  State the term remaining
                                                                                      Yang & Nick Jin
             List the contract number of any                                          7407 Bethune St.
                   government contract                                                Falls Church, VA 22043


 2.10.       State what the contract or                   Home construction
             lease is for and the nature of               contract.
             the debtor's interest

                  State the term remaining                                            Zhen Yang
                                                                                      4613 Carisbrooke Ln.
             List the contract number of any                                          Fairfax, VA 22030
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 3
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 Debtor 1 Artifact LLC                                                                        Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Artifact LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Pedro Felipe                      14531 Old Mill Rd.                                 Airtron Mid-Atlantic              D
             Valdes                            Centreville, VA 20121                                                                E/F       3.1
                                                                                                                                    G




    2.2      Pedro Felipe                      14531 Old Mill Rd.                                 Alejandro Painting                D
             Valdes                            Centreville, VA 20121                                                                E/F       3.2
                                                                                                                                    G




    2.3      Pedro Felipe                      14531 Old Mill Rd.                                 Alina Hu                          D
             Valdes                            Centreville, VA 20121                                                                E/F       3.3
                                                                                                                                    G




    2.4      Pedro Felipe                      14531 Old Mill Rd.                                 Allied Interior                   D
             Valdes                            Centreville, VA 20121                              Products                          E/F       3.4
                                                                                                                                    G




    2.5      Pedro Felipe                      14531 Old Mill Rd.                                 Allstate Insurance                D
             Valdes                            Centreville, VA 20121                              Co.                               E/F       3.5
                                                                                                                                    G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Pedro Felipe                      14531 Old Mill Rd.                                 Ana Maria                 D
             Valdes                            Centreville, VA 20121                              Brockmann Quiroga         E/F       3.6
                                                                                                                            G




    2.7      Pedro Felipe                      14531 Old Mill Rd.                                 Appliance                 D
             Valdes                            Centreville, VA 20121                              Connection                E/F       3.7
                                                                                                                            G




    2.8      Pedro Felipe                      14531 Old Mill Rd.                                 AR Jon Portable           D
             Valdes                            Centreville, VA 20121                              Toilet                    E/F       3.8
                                                                                                                            G




    2.9      Pedro Felipe                      14531 Old Mill Rd.                                 AR Remodeling             D
             Valdes                            Centreville, VA 20121                                                        E/F       3.9
                                                                                                                            G




    2.10     Pedro Felipe                      14531 Old Mill Rd.                                 AT&T                      D
             Valdes                            Centreville, VA 20121                                                        E/F       3.10
                                                                                                                            G




    2.11     Pedro Felipe                      14531 Old Mill Rd.                                 BlueLine Rental           D
             Valdes                            Centreville, VA 20121                                                        E/F       3.11
                                                                                                                            G




    2.12     Pedro Felipe                      14531 Old Mill Rd.                                 BMC East LLC              D
             Valdes                            Centreville, VA 20121                                                        E/F       3.12
                                                                                                                            G




    2.13     Pedro Felipe                      14531 Old Mill Rd.                                 Botero Homes, LLC         D
             Valdes                            Centreville, VA 20121                                                        E/F       3.13
                                                                                                                            G




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            Column 1: Codebtor                                                         Column 2: Creditor



    2.14     Pedro Felipe                      14531 Old Mill Rd.                                 BrainWave Advisors        D
             Valdes                            Centreville, VA 20121                              LLC                       E/F       3.14
                                                                                                                            G




    2.15     Pedro Felipe                      14531 Old Mill Rd.                                 Brian & Jennifer Yi       D
             Valdes                            Centreville, VA 20121                                                        E/F       3.15
                                                                                                                            G




    2.16     Pedro Felipe                      14531 Old Mill Rd.                                 Brian Yan                 D
             Valdes                            Centreville, VA 20121                                                        E/F       3.16
                                                                                                                            G




    2.17     Pedro Felipe                      14531 Old Mill Rd.                                 Brickwall Printing &      D
             Valdes                            Centreville, VA 20121                              Graphics                  E/F       3.17
                                                                                                                            G




    2.18     Pedro Felipe                      14531 Old Mill Rd.                                 Bull Run CAD              D
             Valdes                            Centreville, VA 20121                                                        E/F       3.18
                                                                                                                            G




    2.19     Pedro Felipe                      14531 Old Mill Rd.                                 Choice Stairways          D
             Valdes                            Centreville, VA 20121                                                        E/F       3.19
                                                                                                                            G




    2.20     Pedro Felipe                      14531 Old Mill Rd.                                 Claudia Hoffman           D
             Valdes                            Centreville, VA 20121                                                        E/F       3.20
                                                                                                                            G




    2.21     Pedro Felipe                      14531 Old Mill Rd.                                 Construction              D
             Valdes                            Centreville, VA 20121                              Inspection Svcs           E/F       3.22
                                                                                                                            G




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            Column 1: Codebtor                                                         Column 2: Creditor



    2.22     Pedro Felipe                      14531 Old Mill Rd.                                 Davenport Tru Team        D
             Valdes                            Centreville, VA 20121                                                        E/F       3.23
                                                                                                                            G




    2.23     Pedro Felipe                      14531 Old Mill Rd.                                 Delta Concrete            D
             Valdes                            Centreville, VA 20121                                                        E/F       3.24
                                                                                                                            G




    2.24     Pedro Felipe                      14531 Old Mill Rd.                                 Demarr Construction       D
             Valdes                            Centreville, VA 20121                                                        E/F       3.25
                                                                                                                            G




    2.25     Pedro Felipe                      14531 Old Mill Rd.                                 Dongmei Zhang             D
             Valdes                            Centreville, VA 20121                                                        E/F       3.26
                                                                                                                            G




    2.26     Pedro Felipe                      14531 Old Mill Rd.                                 Era Cabinets              D
             Valdes                            Centreville, VA 20121                                                        E/F       3.27
                                                                                                                            G




    2.27     Pedro Felipe                      14531 Old Mill Rd.                                 Escalera Plumbing         D
             Valdes                            Centreville, VA 20121                              LLC                       E/F       3.29
                                                                                                                            G




    2.28     Pedro Felipe                      14531 Old Mill Rd.                                 Fireside Hearth &         D
             Valdes                            Centreville, VA 20121                              Home                      E/F       3.30
                                                                                                                            G




    2.29     Pedro Felipe                      14531 Old Mill Rd.                                 Givago Growth             D
             Valdes                            Centreville, VA 20121                                                        E/F       3.32
                                                                                                                            G




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.30     Pedro Felipe                      14531 Old Mill Rd.                                 H&L Electric              D
             Valdes                            Centreville, VA 20121                                                        E/F       3.33
                                                                                                                            G




    2.31     Pedro Felipe                      14531 Old Mill Rd.                                 Home Depot                D
             Valdes                            Centreville, VA 20121                                                        E/F       3.35
                                                                                                                            G




    2.32     Pedro Felipe                      14531 Old Mill Rd.                                 Inova Engineering         D
             Valdes                            Centreville, VA 20121                                                        E/F       3.36
                                                                                                                            G




    2.33     Pedro Felipe                      14531 Old Mill Rd.                                 Itech AG, LLC             D
             Valdes                            Centreville, VA 20121                                                        E/F       3.37
                                                                                                                            G




    2.34     Pedro Felipe                      14531 Old Mill Rd.                                 Jeffrey Neilsen           D
             Valdes                            Centreville, VA 20121                                                        E/F       3.38
                                                                                                                            G




    2.35     Pedro Felipe                      14531 Old Mill Rd.                                 Jennifer Guo Spinelli     D
             Valdes                            Centreville, VA 20121                                                        E/F       3.39
                                                                                                                            G




    2.36     Pedro Felipe                      14531 Old Mill Rd.                                 Jim Xi                    D
             Valdes                            Centreville, VA 20121                                                        E/F       3.40
                                                                                                                            G




    2.37     Pedro Felipe                      14531 Old Mill Rd.                                 Jin Li                    D
             Valdes                            Centreville, VA 20121                                                        E/F       3.41
                                                                                                                            G




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            Column 1: Codebtor                                                         Column 2: Creditor



    2.38     Pedro Felipe                      14531 Old Mill Rd.                                 Jingjing Ye               D
             Valdes                            Centreville, VA 20121                                                        E/F       3.42
                                                                                                                            G




    2.39     Pedro Felipe                      14531 Old Mill Rd.                                 JK Glass LLC              D
             Valdes                            Centreville, VA 20121                                                        E/F       3.43
                                                                                                                            G




    2.40     Pedro Felipe                      14531 Old Mill Rd.                                 JP Masonry                D
             Valdes                            Centreville, VA 20121                                                        E/F       3.44
                                                                                                                            G




    2.41     Pedro Felipe                      14531 Old Mill Rd.                                 Juan P. Valdez            D
             Valdes                            Centreville, VA 20121                                                        E/F       3.45
                                                                                                                            G




    2.42     Pedro Felipe                      14531 Old Mill Rd.                                 KNF Engineering           D
             Valdes                            Centreville, VA 20121                                                        E/F       3.46
                                                                                                                            G




    2.43     Pedro Felipe                      14531 Old Mill Rd.                                 Larry Zhang               D
             Valdes                            Centreville, VA 20121                                                        E/F       3.47
                                                                                                                            G




    2.44     Pedro Felipe                      14531 Old Mill Rd.                                 LoanMe                    D
             Valdes                            Centreville, VA 20121                                                        E/F       3.48
                                                                                                                            G




    2.45     Pedro Felipe                      14531 Old Mill Rd.                                 Lucy Sun                  D
             Valdes                            Centreville, VA 20121                                                        E/F       3.49
                                                                                                                            G




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            Column 1: Codebtor                                                         Column 2: Creditor



    2.46     Pedro Felipe                      14531 Old Mill Rd.                                 Marble Solutions          D
             Valdes                            Centreville, VA 20121                                                        E/F       3.50
                                                                                                                            G




    2.47     Pedro Felipe                      14531 Old Mill Rd.                                 Matthew Zhao              D
             Valdes                            Centreville, VA 20121                                                        E/F       3.51
                                                                                                                            G




    2.48     Pedro Felipe                      14531 Old Mill Rd.                                 MM Electric               D
             Valdes                            Centreville, VA 20121                                                        E/F       3.52
                                                                                                                            G




    2.49     Pedro Felipe                      14531 Old Mill Rd.                                 Ngoc Le                   D
             Valdes                            Centreville, VA 20121                                                        E/F       3.53
                                                                                                                            G




    2.50     Pedro Felipe                      14531 Old Mill Rd.                                 NOVA Homes                D
             Valdes                            Centreville, VA 20121                              Investors                 E/F       3.54
                                                                                                                            G




    2.51     Pedro Felipe                      14531 Old Mill Rd.                                 Ping Mu                   D
             Valdes                            Centreville, VA 20121                                                        E/F       3.55
                                                                                                                            G




    2.52     Pedro Felipe                      14531 Old Mill Rd.                                 Potomac Valley Brick      D
             Valdes                            Centreville, VA 20121                              & Supply                  E/F       3.56
                                                                                                                            G




    2.53     Pedro Felipe                      14531 Old Mill Rd.                                 Prime Rate Premium        D
             Valdes                            Centreville, VA 20121                              FinanceCorp               E/F       3.57
                                                                                                                            G




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    2.54     Pedro Felipe                      14531 Old Mill Rd.                                 Sotheby Floors            D
             Valdes                            Centreville, VA 20121                                                        E/F       3.58
                                                                                                                            G




    2.55     Pedro Felipe                      14531 Old Mill Rd.                                 Su Mya Lin                D
             Valdes                            Centreville, VA 20121                                                        E/F       3.60
                                                                                                                            G




    2.56     Pedro Felipe                      14531 Old Mill Rd.                                 The Roof Center           D
             Valdes                            Centreville, VA 20121                                                        E/F       3.61
                                                                                                                            G




    2.57     Pedro Felipe                      14531 Old Mill Rd.                                 Top Quality Kitchen       D
             Valdes                            Centreville, VA 20121                              Granite                   E/F       3.62
                                                                                                                            G




    2.58     Pedro Felipe                      14531 Old Mill Rd.                                 Total Lawn Care           D
             Valdes                            Centreville, VA 20121                                                        E/F       3.63
                                                                                                                            G




    2.59     Pedro Felipe                      14531 Old Mill Rd.                                 Trim & Carpentry Inc.     D
             Valdes                            Centreville, VA 20121                                                        E/F       3.64
                                                                                                                            G




    2.60     Pedro Felipe                      14531 Old Mill Rd.                                 Vector Security           D
             Valdes                            Centreville, VA 20121                                                        E/F       3.65
                                                                                                                            G




    2.61     Pedro Felipe                      14531 Old Mill Rd.                                 Vector Security           D
             Valdes                            Centreville, VA 20121                                                        E/F       3.66
                                                                                                                            G




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            Column 1: Codebtor                                                         Column 2: Creditor



    2.62     Pedro Felipe                      14531 Old Mill Rd.                                 Vivian Pan                D
             Valdes                            Centreville, VA 20121                                                        E/F       3.67
                                                                                                                            G




    2.63     Pedro Felipe                      14531 Old Mill Rd.                                 WizdomBridge LLC          D
             Valdes                            Centreville, VA 20121                                                        E/F       3.69
                                                                                                                            G




    2.64     Pedro Felipe                      14531 Old Mill Rd.                                 Zhongren Gu               D
             Valdes                            Centreville, VA 20121                                                        E/F       3.72
                                                                                                                            G




    2.65     Pedro Felipe                      14531 Old Mill Rd.                                 Zhen Yang                 D
             Valdes                            Centreville, VA 20121                                                        E/F       3.71
                                                                                                                            G




    2.66     Pedro Felipe                      14531 Old Mill Rd.                                 Spatzio Concepts          D
             Valdes                            Centreville, VA 20121                                                        E/F       3.59
                                                                                                                            G




    2.67     Pedro Felipe                      14531 Old Mill Rd.                                 Homayoun Talieh           D
             Valdes                            Centreville, VA 20121                                                        E/F       3.34
                                                                                                                            G




    2.68     Pedro Felipe                      14531 Old Mill Rd.                                 Constanza Patterson       D
             Valdes                            Centreville, VA 20121                                                        E/F       3.21
                                                                                                                            G




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 Fill in this information to identify the case:

 Debtor name         Artifact LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                         $35,600.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                     $8,138,762.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                     $3,100,986.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                       $248,031.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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          None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Alejandro Painting                                          6/5/18 &                         $18,000.00                Secured debt
               505 S Lee Rd.                                               7/18/18                                                    Unsecured loan repayments
               Sterling, VA 20164
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.2.
               Sotheby Floors                                              6/6/18                           $35,247.25                Secured debt
               12079 Cadet Ct.                                                                                                        Unsecured loan repayments
               Manassas, VA 20109
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.3.
               Demarr Construction                                         6/14/18                          $33,437.00                Secured debt
               2504 Moon Drive                                                                                                        Unsecured loan repayments
               Falls Church, VA 22043
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.4.
               Airtron Mid-Atlantic                                        7/19/18                            $9,875.00               Secured debt
               5123 Pegasus Ct., Ste. M                                                                                               Unsecured loan repayments
               Frederick, MD 21704
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                              Describe of the Property                                       Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.




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           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case               Court or agency's name and              Status of case
               Case number                                                                   address
       7.1.    Botero Homes LLC                                 Confession of                Fairfax County Circuit                      Pending
               v.                                               Judgment                     Court                                       On appeal
               Artifact, LLC, et al.                                                         4110 Chain Bridge Rd.
                                                                                                                                         Concluded
               CL-2018-0012791                                                               Fairfax, VA 22030

       7.2.    BMC East LLC                                     Confession of                Fairfax County Circuit                      Pending
               v.                                               Judgment                     Court                                       On appeal
               Artifact LLC, Felipe Valdes,                                                  4110 Chain Bridge Rd.
                                                                                                                                         Concluded
               Juan Valdes                                                                   Fairfax, VA 22030
               CL-2018-0011339

       7.3.    Yang Jin et al. v. Artifact, LLC                 Complaint for                Fairfax County Circuit                      Pending
               CL-2018-0013479                                  breach of contract           Court                                       On appeal
                                                                and return of                Fairfax, VA
                                                                                                                                         Concluded
                                                                monies paid.


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                      lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy

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    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                 the transfer?                                                                                                                          value
                 Address
       11.1.     Henry & O'Donnell, P.C.
                 Kevin M. O'Donnell, Esq.
                 300 N. Washington St.
                 Suite 204
                 Alexandria, VA 22314                                                                                          9/15/2018           $10,000.00

                 Email or website address
                 kmo@henrylaw.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers          Total amount or
                                                                                                                      were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

                Who received transfer?                          Description of property transferred or                   Date transfer         Total amount or
                Address                                         payments received or debts paid in exchange              was made                       value
       13.1 Jose Amando Mejia
       .    2116 Alice Avenue
                Olso, MD 20745                                  2000 GMC 3500 Dump Truce                                 8/5/2018                    $6,800.00

                Relationship to debtor
                None


       13.2 iTech AG, LLC
       .    1621 N. Kent Street
                Suite 815                                       Assignment of Partnership Profits in
                Arlington, VA 22209                             1409 Cola Drive Limited P'ship.                          July 11, 2018               Unknown

                Relationship to debtor
                None


       13.3 Steve May
       .    1907 Wiston Dr.
                Hagerstown, MD 21740                            Trailer                                                  9/2018                      $2,500.00

                Relationship to debtor
                None


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               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value
       13.4 Mar Davies
       .                                                        Ford E 450                                               9/2018                         $2,100.00

               Relationship to debtor
               None


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was               Last balance
               Address                                          account number            instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred




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                 Financial Institution name and                 Last 4 digits of          Type of account or          Date account was          Last balance
                 Address                                        account number            instrument                  closed, sold,         before closing or
                                                                                                                      moved, or                      transfer
                                                                                                                      transferred
       18.1.     Capital One                                    XXXX-6768                    Checking                 8/2018                         $100.00
                 14001 Lee Jackson Memorial                                                  Savings
                 Hwy.
                                                                                             Money Market
                 Chantilly, VA 20151
                                                                                             Brokerage
                                                                                             Other

       18.2.     Capital One                                    XXXX-1132                    Checking                 8/2018                         $100.00
                 14001 Lee Jackson Memorial                                                  Savings
                 Hwy.
                                                                                             Money Market
                 Chantilly, VA 20151
                                                                                             Brokerage
                                                                                             Other

       18.3.     Capital One                                    XXXX-7208                    Checking                 8/2018                         $100.00
                 14001 Lee Jackson Memorial                                                  Savings
                 Hwy.
                                                                                             Money Market
                 Chantilly, VA 20151
                                                                                             Brokerage
                                                                                             Other

       18.4.     Bank of America                                XXXX-4692                    Checking                 8/2018                             $0.00
                 14001 Metrotech Dr.                                                         Savings
                 Chantilly, VA 20151
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.5.     Bank of America                                XXXX-8255                    Checking                 8/2018                       $2,000.00
                 14001 Mertrotech Dr.                                                        Savings
                 Chantilly, VA 20151
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.6.     Bank of America                                XXXX-4715                    Checking                 8/2018                             $0.00
                 14001 Metrotech Dr.                                                         Savings
                 Chantilly, VA 20151
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.7.     Bank of America                                XXXX-4744                    Checking                 8/2018                             $0.00
                 14001 Lee Jackson Memorial                                                  Savings
                 Hwy.
                                                                                             Money Market
                 Chantilly, VA 20151
                                                                                             Brokerage
                                                                                             Other

       18.8.     Bank of America                                XXXX-4773                    Checking                 8/2018                             $0.00
                 14001 Metrotech Dr.                                                         Savings
                 Chantilly, VA 20151
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.

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          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known      Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known      Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 7
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 Debtor      Artifact LLC                                                                               Case number (if known)



25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Uchi's Tax & Accounting                                                                                                    2016 - Present
                    7209 Lockport Place
                    Lorton, VA

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Uchi's Tax & Accounting
                    7209 Lockport Place
                    Lorton, VA

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Ken Ramirez                                    8512 Craggon Lane                                   Manager/Member                                50%
                                                      Manassas, VA 20109




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       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Pedro Felipe Valdes                            14531 Old Mill Road                                 Manager/Member                        50%
                                                      Centreville, VA 20121



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Pedro Felipe Valdes
       .    14531 Old Mill Road                                                                                          01/01/18 -        Compensation/Dr
               Centreville, VA 20121                            $35,600.00                                               Present           aws

               Relationship to debtor
               Manager/Member


       30.2 Ken Ramirez
       .    8512 Craggon Lane                                                                                            01/01/2018 -      Compensation/Dr
               Manassas, VA 20109                               $39,500.00                                               present           aws

               Relationship to debtor
               Manager/Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      Artifact LLC                                                                               Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 28, 2018

 /s/ Felipe Valdes                                                      Felipe Valdes
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 10
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                                                               United States Bankruptcy Court
                                                                      Eastern District of Virginia
 In re      Artifact LLC                                                                                    Case No.
                                                                                  Debtor(s)                 Chapter      7


                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR


1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
       compensation paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
       bankruptcy case is as follows:
         For legal services, I have agreed to accept                                                    $                10,000.00
         Prior to the filing of this statement I have received                                          $                10,000.00
         Balance Due                                                                                    $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify)

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify)

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.


5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. Other provisions as needed:



6.     By agreement with the debtor(s), the above-disclosed fee does not include the following services:
               Any representation in contested matters, adversary proceedings or other litigation.




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                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 28, 2018                                                         /s/ Kevin M. O'Donnell
     Date                                                                       Kevin M. O'Donnell 30086
                                                                                Signature of Attorney

                                                                                Henry & O'Donnell, PC
                                                                                Name of Law Firm
                                                                                300 N. Washington Street
                                                                                Suite 204
                                                                                Alexandria, VA 22314
                                                                                (703)548-2100 Fax: (703)548-2105



                                     For use in Chapter 13 Cases where Fees Requested Not in Excess of $5,223
                                                     (For all Cases Filed on or after 01/01/2018)
                        NOTICE TO DEBTOR(S), STANDING CHAPTER 13 TRUSTEE AND UNITED
                                               STATES TRUSTEE
                             PURSUANT TO LOCAL BANKRUPTCY RULE 2016-1(C) AND
                                         CLERK’S CM/ECF POLICY 9

            Notice is hereby given that pursuant to Local Bankruptcy Rule 2016-1(C), you must file an objection with the court to the fees requested
 in this disclosure of compensation opposing said fees in their entirety, or in a specific amount, no later than the last day for filing objections to
 confirmation of the chapter 13 plan.

                                                                        PROOF OF SERVICE
           The undersigned hereby certifies that on this date the foregoing Notice was served upon the debtor(s), the standing Chapter 13 trustee,
 and U. S. trustee pursuant to Local Bankruptcy Rule 2016-1(C) and the Clerk’s CM/ECF Policy 9, either electronically or in paper form (first class
 mail).

     Date
                                                                                     Signature of Attorney




[2030edva ver. 01/18]
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                        Airtron Mid-Atlantic
                        5123 Pegasus Ct., Ste. M
                        Frederick, MD 21704


                        Alejandro Painting
                        505 S Lee Rd.
                        Sterling, VA 20164


                        Alina Hu
                        1718 Chateau Ct.
                        Mc Lean, VA 22101


                        Allied Interior Products
                        21 Lawson Rd., Ste. A
                        Leesburg, VA 20175


                        Allstate Insurance Co.
                        9316 Old Keene Mill Rd
                        Chantilly, VA 20151


                        Ana Maria Brockmann Quiroga
                        5750 Colchester Road
                        Fairfax, VA 22030


                        Appliance Connection
                        13851 Telegraph Rd.
                        Woodbridge, VA 22192


                        AR Jon Portable Toilet
                        327 Owaissa Rd., SE
                        Vienna, VA 22180


                        AR Remodeling
                        148 Cabbel Drive
                        Manassas, VA 20111


                        AT&T
                        4331 Communications Dr.
                        Floor 4W
                        Dallas, TX 75211


                        BlueLine Rental
                        PO Box 840062
                        Dallas, TX 75284
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                    BMC East LLC
                    10589 Redoubt Rd.
                    Manassas, VA 20110


                    Botero Homes, LLC
                    11150 Sunset Hills Road
                    Reston, VA 20190


                    BrainWave Advisors LLC
                    1227 San Filippo Ct.
                    San Jose, CA 95128-4053


                    Brian & Jennifer Yi
                    11335 Vale Rd.
                    Oakton, VA 22124


                    Brian & Jennifer Yi
                    11335 Vale Rd.
                    Mc Lean, VA 22101


                    Brian Yan
                    11335 Vale Rd.
                    Falls Church, VA 22046


                    Brickwall Printing & Graphics
                    14088-D Sullyfield Cir.
                    Chantilly, VA 20151


                    Bull Run CAD
                    8512 Craggan Ln.
                    Manassas, VA 20109


                    Choice Stairways
                    231 Bugeye Square
                    Prince Frederick, MD 20678


                    Claudia Hoffman
                    2825 Aquarius Ave.
                    Silver Spring, MD 20906


                    Constanza Patterson
                    1434 Cola Dr.
                    Mc Lean, VA 22101
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                    Construction Inspection Svcs
                    31 Sycolin Rd.
                    Leesburg, VA 20175


                    County of Fairfax
                    PO Box 10203
                    Fairfax, VA 22035


                    Davenport Tru Team
                    7400 Gateway Ct.
                    Manassas, VA 20109


                    Delta Concrete
                    10480 Colonel Ct.
                    Manassas, VA 20110


                    Demarr Construction
                    2504 Moon Drive
                    Falls Church, VA 22043


                    Dongmei Zhang
                    6803 Lumsden St.
                    Mc Lean, VA 22101


                    Era Cabinets
                    2408 Columbia Pike
                    Arlington, VA 22204


                    Erie Insurance Exchange
                    100 Erie Ins Place
                    Erie, PA 16530


                    Escalera Plumbing LLC
                    135 North Cottage Rd.
                    Sterling, VA 20164


                    Feng Lui & Nan Yang
                    1409 Cola Dr.
                    Mc Lean, VA 22101


                    Fireside Hearth & Home
                    10126 Harry J. Parrish Blvd.
                    Manassas, VA 20110
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                    Frank Antezana & D. Versalovic
                    5750 Colchester Road
                    Mc Lean, VA 22101


                    Givago Growth
                    1434 Cola Dr.
                    Mc Lean, VA 22101


                    H&L Electric
                    2390 Generation Dr.
                    Reston, VA 20191


                    Homayoun Talieh
                    19908 Bella Vista Ave.
                    Saratoga, CA 95070


                    Home Depot
                    PO Box 9001030
                    Louisville, KY 40290


                    Inova Engineering
                    25209 Larks Terrace
                    Chantilly, VA 20152


                    Itech AG, LLC
                    1621 N. Kent St. #815
                    Arlington, VA 22209


                    Jeffrey Neilsen
                    5801 Malvern Hill Ct.
                    Haymarket, VA 20169


                    Jennifer Guo Spinelli
                    2233 Whitcomb Pl.
                    Falls Church, VA 22046


                    Jim Xi
                    1726 Lansing Ct.
                    Mc Lean, VA 22101


                    Jin Li
                    6809 Karlson St.
                    Mc Lean, VA 22101
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                    Jingjing Ye
                    1710 Warner Ave.
                    Mc Lean, VA 22101


                    JK Glass LLC
                    3941 Persimmon Dr., Ste. 101
                    Fairfax, VA 22031


                    JP Masonry
                    6004 Artemus Rd.
                    Gainesville, VA 20155


                    JP Valdes
                    6802 Van Fleet Dr.
                    Mc Lean, VA 22101


                    Juan P. Valdez
                    1434 Cola Dr.
                    Mc Lean, VA 22101


                    KNF Engineering
                    42687 Leaflet Ln.
                    South Riding, VA 20152


                    Larry Zhang
                    7324 Old Dominion Dr.
                    Mc Lean, VA 22101


                    LoanMe
                    PO Box 5645
                    Orange, CA 92863


                    Lucy Sun
                    6809 Churchill Rd.
                    Mc Lean, VA 22102


                    Marble Solutions
                    13825 Redskin Dr.
                    Herndon, VA 20171


                    Matthew Zhao
                    1036 Carper St.
                    Mc Lean, VA 22101
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                    MM Electric
                    6603 Fisher Ave.
                    Falls Church, VA 22046


                    Ngoc Le
                    7204 Beverly St.
                    Annandale, VA 22003


                    NOVA Homes Investors
                    13050 Autumn Willow Dr.
                    Fairfax, VA 22030


                    Pedro Felipe Valdes
                    14531 Old Mill Rd.
                    Centreville, VA 20121


                    Ping Mu
                    821 Leigh Mill Rd.
                    Great Falls, VA 22066


                    Potomac Valley Brick & Supply
                    15810 Indianola Dr., Ste. 100
                    Rockville, MD 20855


                    Prime Rate Premium FinanceCorp
                    PO Box 580016
                    Charlotte, NC 28258-0016


                    Sotheby Floors
                    12079 Cadet Ct.
                    Manassas, VA 20109


                    Spatzio Concepts
                    19908 Bella Vista Ave.
                    Saratoga, CA 95070


                    Su Mya Lin
                    9430 River Rd.
                    Potomac, MD 20854


                    The Roof Center
                    5900 Farrington Ave.
                    Alexandria, VA 22304
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                    Top Quality Kitchen Granite
                    & Marble
                    14041 Willard Rd.
                    Chantilly, VA 20151


                    Total Lawn Care
                    PO Box 11163
                    Manassas, VA 20113


                    Trim & Carpentry Inc.
                    2623 Arlington Dr., Apt. 102
                    Alexandria, VA 22306


                    Vector Security
                    9800 Patuxent Woods Dr.
                    Ste. B
                    Columbia, MD 21046


                    Vector Security
                    9801 Patuxent Woods Dr.
                    Ste. B
                    Columbia, MD 21046


                    Vector Security
                    2000 Ericsson Dr.
                    Warrendale, PA 15086


                    Vector Security
                    2001 Ericsson Dr.
                    Warrendale, PA 15086


                    Vivian Pan
                    7010 Churchill Rd.
                    Mc Lean, VA 22101


                    Weilong Wang
                    6446 Divine St
                    McLean, VA 20121


                    WizdomBridge LLC
                    22059 Autction Barn Dr.
                    Ashburn, VA 20148
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                    Yang & Nick Jin
                    7407 Bethune St.
                    Falls Church, VA 22043


                    Ying Zhao
                    7102 Sea Cliff Road
                    Mc Lean, VA 22101


                    Zhen Yang
                    4613 Carisbrooke Ln.
                    Fairfax, VA 22030


                    Zhongren Gu
                    1932 Beaver Ln.
                    Mc Lean, VA 22101
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                                                               United States Bankruptcy Court
                                                                      Eastern District of Virginia
 In re      Artifact LLC                                                                                   Case No.
                                                                                   Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Artifact LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 September 28, 2018                                                    /s/ Kevin M. O'Donnell
 Date                                                                  Kevin M. O'Donnell 30086
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Artifact LLC
                                                                       Henry & O'Donnell, PC
                                                                       300 N. Washington Street
                                                                       Suite 204
                                                                       Alexandria, VA 22314
                                                                       (703)548-2100 Fax:(703)548-2105
                                                                       kmo@henrylaw.com




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